
706 S.E.2d 228 (2011)
STATE of North Carolina
v.
James Dean MARTIN.
No. 14P11.
Supreme Court of North Carolina.
February 3, 2011.
Daniel Shatz, Assistant Appellate Defender, for Martin, James Dean.
Daniel P. O'Brien, Assistant Attorney General, for State of North Carolina.
Rex Gore, District Attorney, for State.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant-Appellant on the 11th of January 2011 in this matter pursuant to *229 G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 3rd of February 2011."
Upon consideration of the petition filed on the 11th of January 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 3rd of February 2011."
